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IN THE UNITED STATES DISTRICT COURT
F()R THE DISTRICT OF COLUMBIA

 

Rodney Lail, et al.,

Plainti)‘,`f`s.A
C.A. No. 10-CV-210-PLF

V.

United States Governrnent, et al.,

RECEIVED
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C|erk, U.S. Distnct and
Bankruptcy Courts

Defendants.

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PLAINTIFF JAMES SPENCER’S EX-PARTE MOTION FOR

ALLOWANCE OF ELECTRONIC FILING

Plaintiff James Spencer, Pro Se, seeks this Court’s permission to tile electronically
using the CM/ECF system. ln consideration of this motion, Plaintiff Spencer ai`t`lrms:
l. Plaintiff Spencer has access to a computer.

2. Plaintiff Spencer has past experience using the CM/ECF system.

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3. Plaintiff Spencer agrees to receive notice and respond through the CM/ECF
system.

4. Plaintiff Spencer’s e-mail address for Cl\/l/ECF and Court communications is:

JamesBSpencer@sc.rr.com

Therefore, Plaintiff Spencer prays this Court grant permission to allow Plaintiff

Spencer access and use of the CM/ECF in the above captioned case.

rhis the 14th day OfFebruary, 2010.
Respectfully submitted by.

lar/gm

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